         Case 19-32130 Document 175 Filed in TXSB on 03/05/25 Page 1 of 1
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                         UNITED STATES BANKRUPTCY COURT                                  March 05, 2025
                           SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

In re:                                          §        Case No.: 19-32130
                                                §
BORIS TWAIN CLEWIS,                             §        Chapter 7
                                                §
               Debtor.                          §


           ORDER GRANTING TRUSTEE’S MOTION TO
     COMPROMISE CONTROVERSY UNDER BANKRUPTCY RULE 9019
                   [Related to Docket No. 170]

        The Court has considered the Motion to Compromise Controversy Under Bankruptcy Rule
9019 (“Motion”) filed by Allison Byman, chapter 7 trustee (the “Trustee”) for the bankruptcy
estate of Boris Twain Clewis (the “Debtor”). The Court finds that (i) the compromise is in the best
interest of the estate and its creditors and (ii) adequate notice of the motion has been given to
creditors and parties-in-interest in this case Accordingly, it is, therefore, ORDERED THAT:
    1. The Settlement Agreement (the “Settlement Agreement”) attached as Exhibit A is
        approved.

   2. Within fifteen days of entry of this Order, DAN Investments, LLC (“DAN”) shall pay the
      Trustee $70,000.00 and First National Title Insurance Company (“FNTI”) shall pay the
      Trustee $55,000.00 (the “Settlement Payment”).

   3. Within seven (7) days of receipt of the Settlement Payment, the Trustee, DAN and FNRI
      shall file a joint notice of dismissal with prejudice of the Adversary.

   4. The Trustee is authorized to enter into all documents and take the necessary actions to
      effectuate the terms of the compromises set forth in the Motion.

   5. The Court retains jurisdiction to interpret and enforce the provisions of this Order and the
      transactions contemplated herein to the maximum extent allowed by law.



          Signed: March 05, 2025




                                                                     Eduardo V. Rodriguez
                                                              Chief United States Bankruptcy Judge
